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                   IN THE UNITED STATES DISTRICT COURT FOR THE

                           EASTERN DISTRICT OF VIRGINIA

                                    Alexandria Division

UNITED STATES OF AMERICA                  )
                                          )               1:19cr59
              v.                          )
                                          )
DANIEL EVERETTE HALE                      )

                                   NOTICE OF HEARING

       PLEASE TAKE NOTICE that on Thursday, February 25, 2021, at 10:00 a.m., the

government will move the Court to hear its Motion to Admit Summary Charts in Lieu of

Admission of the Underlying Summarized Documents.

                                                 Respectfully submitted,

                                                 Raj Parekh
                                                 Acting United States Attorney

                                                 ________/s_________________
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                                    CERTIFICATE OF SERVICE

       I hereby certify that on the 13th day of February 2021, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system, which will send a notification of such filing

(NEF) to all attorneys of record.


                                             ____________/s______________
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